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                  EXHIBIT A
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                                             Metadata
 Author            Goepel, Katie                                                                  SEMANTIC
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                   Positions\NFL Digital
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